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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

 JOHN VITORINO,

        Plaintiff,

 v.                                                       Case No:

 SYNCHRONY BANK,

       Defendant.                                         DEMAND FOR JURY TRIAL
 _____________________________/


       PLAINTIFF’S COMPLAINT WITH INJUNCTIVE RELIEF SOUGHT

        COMES NOW, Plaintiff, JOHN VITORINO (“Mr. Vitorino” or “Plaintiff”), by

 and through the undersigned counsel, and hereby sues and files this Complaint and

 Demand for Jury Trial with Injunctive Relief Sought against Defendant, SYNCHRONY

 BANK (“Defendant”), and in support thereof states as follows:

                                           Introduction

        1.      This action arises out of an alleged “Debt” or “Consumer Debt” as defined

 by Fla. Stat. § 559.55 (6) and Defendant’s violations of the Restrictions on Use of

 Telephone Equipment, 47 U.S.C. § 227 et. seq. (“TCPA”), and the Florida Consumer

 Collection Practices Act, Fla. Stat. § 559.72 et. seq. (“FCCPA”), in attempting to collect

 such Debt by using an automatic telephone dialing system or automated voice or

 prerecorded message to call Mr. Vitorino’s Cellular Telephone after Mr. Vitorino

 demanded that Defendant stop calling his Cellular Telephone, which can reasonably be

 expected to harass Mr. Vitorino.



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                                      Jurisdiction and Venue

         2.      This Court has subject matter jurisdiction over the instant case arising

 under the federal question presented in the TCPA and the FDCPA pursuant to 28 U.S.C.

 § 1331.

         3.      Venue lies in this District pursuant to 28 U.S.C. § 1391 (b) and 15 U.S.C.

 § 1692k (d) and Fla. Stat. § 559.77 (1), as a substantial part of the events or omissions

 giving rise to the claims occurred in this judicial district.

                                                Parties

         4.      Plaintiff, Mr. Vitorino, was and is a natural person and, at all times

 material hereto, is an adult, a resident of Pasco County, Florida, a “consumer” as defined

 by 15 U.S.C. § 1692a (3), and a “debtor” or “consumer” as defined by Fla. Stat. § 559.55

 (8).

         5.      Mr. Vitorino is the “called party” as referenced in the TCPA, 47 U.S.C. §

 227 (b) (1) (A) (iii), for all calls placed to cellular telephone number 727-***-9538 (“Mr.

 Vitorino’s Cellular Telephone”).

         6.      At all times material hereto, Defendant was and is a bank with its principle

 place of business in the State of UT located at 170 West Election Road, Suite 125,

 Draper, UT 84020.

                                         Statements of Fact

         7.      Under information and belief, Mr. Vitorino opened two credit card

 accounts with Defendant (“Accounts”).




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         8.       Sometime thereafter, Mr. Vitorino encountered financial difficulties and

 fell behind on his payments toward the Accounts and incurred an outstanding balance

 owed thereunder (“Debt”).

         9.       In or around May 2018, Defendant began placing calls to Mr. Vitorino’s

 Cellular Telephone in attempts to collect the Debt.

         10.      Mr. Vitorino spoke with Defendant in May of 2018 and demanded

 Defendant stop calling his Cellular Telephone.

         11.      Defendant advised Mr. Vitorino that he would be removed from their call

 list.

         12.      Despite Mr. Vitorino’s demand and Defendant stating that Mr. Vitorino

 will be removed from their call list, Defendant continued to place calls to Mr. Vitorino’s

 Cellular Telephone in attempts to collect the Debt.

         13.      Defendant has called Mr. Vitorino’s Cellular Telephone at least one

 hundred (100) times during the time period from May of 2018 to the present date.

         14.      Defendant called Mr. Vitorino’s Cellular Telephone from several different

 telephone numbers.

         15.      Defendant was aware that Mr. Vitorino did not authorize its calls to his

 Cellular Telephone because Mr. Vitorino had sued Defendant once before for the same

 harassing collection activities. See Middle District of Florida Case No. 8:16-cv-01504-

 EAK-TBM.

         16.      All of Defendant’s calls to Mr. Vitorino’s Cellular Telephone were placed

 in an attempt to collect the Debt.



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        17.      Defendant has harassed Mr. Vitorino due to the timing and frequency of

 Defendant’s calls.


              Count 1: Violation of the Telephone Consumer Protection Act

        18.      Mr. Vitorino re-alleges paragraphs 1-17 and incorporates the same herein

 by reference.

        19.      The Restrictions on Use of Telephone Equipment provision, 47 U.S.C. §

 227 (b) (1) prohibits any person:

                          (A) to make any call (other than a call made for
                          emergency purposes or made with the prior express
                          consent of the called party) using any automatic
                          telephone dialing system or an artificial prerecorded
                          voice – (iii) to any telephone number assigned to a
                          paging service, cellular telephone service, . . . or
                          any service for which the called party is charged for
                          the call.

        20.      Mr. Vitorino revoked consent to have Defendant call him Cellular

 Telephone by the use of an automatic telephone dialing system (“ATDS”) or artificial

 voice or prerecorded message in or around May of 2018 when he expressly told

 Defendant to stop calling him.

        21.      Despite this revocation of consent, Defendant thereafter called              Mr.

 Vitorino’s Cellular Telephone at least one hundred (100) times.

        22.      Defendant did not place any emergency calls to Mr. Vitorino’s Cellular

 Telephone.

        23.      Defendant willfully and knowingly placed non-emergency calls to Mr.

 Vitorino’s Cellular Telephone.



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        24.      Mr. Vitorino knew that Defendant called Mr. Vitorino’s Cellular

 Telephone using an ATDS because he heard a pause when he answered at least one of the

 first few calls from Defendant on his cellular telephone before a live representative of

 Defendant came on the line.

        25.      Mr. Vitorino knew that Defendant called Mr. Vitorino’s Cellular

 Telephone using a prerecorded voice because Defendant left Mr. Vitorino at least one

 voicemail using a prerecorded voice.

        26.      Defendant used an ATDS when it placed at least one call to Mr. Vitorino’s

 Cellular Telephone.

        27.      Under information and belief, Defendant used an ATDS when it placed at

 least ten calls to Mr. Vitorino’s Cellular Telephone.

        28.      Under information and belief, Defendant used an ATDS when it placed at

 least twenty calls to Mr. Vitorino’s Cellular Telephone.

        29.      Under information and belief, Defendant used an ATDS when it placed all

 calls to Mr. Vitorino’s Cellular Telephone.

        30.      At least one call that Defendant placed to Mr. Vitorino’s Cellular

 Telephone was made using a telephone dialing system that has the capacity to store

 telephone numbers to be called.

        31.      At least one call that Defendant placed to Mr. Vitorino’s Cellular

 Telephone was made using a telephone dialing system that has the capacity to produce

 telephone numbers to be called without human intervention.




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         32.      At least one call that Defendant placed to Mr. Vitorino’s Cellular

 Telephone was made using a telephone dialing system that uses a random number

 generator.

         33.      At least one call that Defendant placed to Mr. Vitorino’s Cellular

 Telephone was made using a telephone dialing system that uses a sequential number

 generator.

         34.      At least one call that Defendant placed to Mr. Vitorino’s Cellular

 Telephone was made using a prerecorded voice.

         35.      Defendant has recorded at least one conversation with Mr. Vitorino.

         36.      Defendant has recorded more than one conversation with Mr. Vitorino.

         37.      Defendant has corporate policies and procedures in place that permit it to

 use an ATDS or artificial voice or prerecorded message to place call individuals to collect

 alleged debts from said individuals, such as Mr. Vitorino, for its financial gain.

         38.      Defendant has corporate policies and procedures in place that permit it to

 use an ATDS or artificial voice or prerecorded message, and to place calls to individuals

 using such devices, just as it did to Mr. Vitorino’s Cellular Telephone, with no way for

 the called party and recipient of the calls to permit, elect, or invoke the removal of the

 called party and recipient of the calls’ cellular telephone number from Defendant’s call

 list.

         39.      The structure of Defendant’s corporate policies and/or procedures permits

 the continuation of calls to individuals like Mr. Vitorino, despite individuals like Mr.

 Vitorino revoking any consent that Defendant believes it may have to place such calls.



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          40.      Defendant knowingly employs methods and has corporate policies and

 procedures that do not permit the cessation or suppression of calls placed using an ATDS

 to individual’s cellular telephones, like the calls that it placed to Mr. Vitorino’s Cellular

 Telephone.

          41.      Defendant has corporate policies to abuse and harass consumers like Mr.

 Vitorino.

          42.      Defendant has been sued in federal court where the allegations include:

 calling an individual using an ATDS after the individual asked for the calls to stop.

          43.      Defendant has been sued in federal court where the allegations include:

 calling an individual using an automated or prerecorded voice after the individual asked

 for the calls to stop.

          44.      Defendant’s phone calls harmed Mr. Vitorino by causing him

 embarrassment.

          45.      Defendant’s phone calls harmed Mr. Vitorino by causing him emotional

 distress.

          46.      Defendant’s phone calls harmed Mr. Vitorino by causing him to lose

 sleep.

          47.      Defendant’s phone calls harmed Mr. Vitorino by causing him stress.

          48.      Defendant’s phone calls harmed Mr. Vitorino by causing him anxiety.

          49.      Defendant’s phone calls harmed Mr. Vitorino by causing him aggravation.

          50.      Defendant’s phone calls harmed Mr. Vitorino by causing him annoyance.

          51.      All conditions precedent to this action have occurred.



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        WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

 against Defendant as follows:

              a. Awarding statutory damages as provided by 47 U.S.C. § 227 (b) (3) (B),

                 which allows for $500 in damages for each such violation;

              b. Awarding treble damages pursuant to 47 U.S.C. § 227 (b) (3) (C);

              c. Awarding Plaintiff costs;

              d. Ordering an injunction preventing further wrongful contact by the

                 Defendant; and

              e. Any other and further relief as this Court deems just and equitable.

      Count 2: Violation of the Florida Consumer Collection Practices Act (“FCCPA”)


        52.      Mr. Vitorino re-alleges paragraphs 1-17 and incorporates the same herein

 by reference.

        53.      Defendant violated the FCCPA. Defendant’s violations include, but are

 not limited to, the following:

              a. Defendant violated Fla. Stat. § 559.72(7) by continuing to

                 place calls to Mr. Vitorino’s Cellular Telephone despite

                 Mr. Vitorino’s demand that Defendant cease its call and

                 Defendant stating that they will remove Mr. Vitorino from

                 their call list, which can reasonably be expected to harass

                 Mr. Vitorino, especially when Mr. Vitorino had sued

                 Defendant before for the same harassing collection activity.




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          54.      As a result of the above violations of the FCCPA, Mr. Vitorino has been

 subjected to unwarranted and illegal collection activities and harassment for which he has

 been damaged.

          55.      Defendant’s phone calls harmed Mr. Vitorino by causing him

 embarrassment.

          56.      Defendant’s phone calls harmed Mr. Vitorino by causing him emotional

 distress.

          57.      Defendant’s phone calls harmed Mr. Vitorino by causing him to lose

 sleep.

          58.      Defendant’s phone calls harmed Mr. Vitorino by causing him stress.

          59.      Defendant’s phone calls harmed Mr. Vitorino by causing him anxiety.

          60.      Defendant’s phone calls harmed Mr. Vitorino by causing him aggravation.

          61.      Defendant’s phone calls harmed Mr. Vitorino by causing him annoyance.

          62.      It has been necessary for Mr. Vitorino to retain the undersigned counsel to

 prosecute the instant action, for which he is obligated to pay a reasonable attorney’s fee.

          63.      All conditions precedent to this action have occurred.

          WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

 against Defendant as follows:

                   a. Awarding statutory damages as provided by Fla. Stat. § 559.77;

                   b. Awarding actual damages;

                   c. Awarding punitive damages;

                   d. Awarding costs and attorneys’ fees;



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                e. Ordering an injunction preventing further wrongful contact by the

                    Defendant; and

                f. Any other and further relief as this Court deems just and equitable.



                                DEMAND FOR JURY TRIAL

          Plaintiff, John Vitorino, demands a trial by jury on all issues so triable.



   Respectfully submitted this March 19, 2019,

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